Case 5:22-cv-00340-DSF-AGR       Document 78      Filed 01/21/25   Page 1 of 2 Page ID
                                      #:2079


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 7   Attorneys for Defendant Lori Pozuelos
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     JEFF T. GRANGE, M.D.,                           5:22-cv-00340 DSF (AGRx)
13
                                       Plaintiff, NOTICE OF SETTLEMENT
14
                  v.
15                                                   Courtroom: 7D
                                                     Judge:        The Honorable Dale S.
16   LORI POZUELOS AND JASON                                       Fischer
     WESSELY,                                        Trial Date: 4/01/25
17                                                   Action Filed: 2/24/2022
                                    Defendants.
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20        TO THIS HONORABLE COURT:
21        The parties have reached a settlement in principle to resolve all claims in the
22   present action. The settlement will include a dismissal of the entire action with
23   prejudice, and the parties anticipate that they will file a stipulation to effect the
24   above dismissal in the near future. The parties are negotiating a settlement
25   agreement, and respectfully request that the Court stay all deadlines, discovery,
26   pretrial and trial dates until at least April 18, 2025.
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Case 5:22-cv-00340-DSF-AGR      Document 78      Filed 01/21/25   Page 2 of 2 Page ID
                                     #:2080


 1   Dated: January 21, 2025                        Respectfully submitted,
 2                                                  ROB BONTA
                                                    Attorney General of California
 3                                                  DONNA M. DEAN
                                                    Supervising Deputy Attorney General
 4
 5
                                                    /s/ Molly S. Murphy
 6                                                  MOLLY S. MURPHY
                                                    Supervising Deputy Attorney General
 7                                                  Attorneys for Defendant Lori
                                                    Pozuelos
 8
 9
     Pursuant to Local Rule 5-4.3.4, I attest that all other signatories listed, and on
10
     whose behalf the filing is submitted, concur in the filing’s content and have
11
     authorized the filing.
12
13
14   Dated: January 21, 2025                        Respectfully submitted,
15                                                  LARSON LLP
16
17                                                  /s/ Daniel R. Lahana
                                                    DANIEL LAHANA
18                                                  Attorneys for Plaintiff Jeff T. Grange,
                                                    M.D.
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